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                                  2/6/2018
                                                          s/ margotn
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 1       a) had the option of bringing a civil action (i.e., lawsuit) in either state court or federal
              court for trademark infringement,
 2
 3

 4     12. THE PLAINTIFF LIKE MOST CASE AND TRADEMARK
 s OWNERS THE PLAINTIFF HAS RIGHTFULLY AND LEGALLY
 6
       CHOSEN TO SUE FOR INFRINGEMENT IN FEDERAL COURT.
 7
      The plaintiff did not choose the state court to bring an action because of the high
 8
      possible of the well-funded multimillionaire and billionaire defendants would have the
 9
      case "removed" to federal court. The Plaintiff brought the action in the California
10
      Federal Court Against Multiple Defendants who all have a business presence in this
11
      state as does the plaintiff. All are involved in interstate sale of the products at issue and
12
      did as discovery will prove up enjoyed the fruits of unjust enrichment at the expense of
13
      the Plaintiffs trademarked and copyright infringement though sales nationwide.
14
      This interstate wrongful taking and unauthorized use and abuse of the Plaintiffs
15
      Trademark creates Federal Jurisdiction and asks a federal question of the court to
16
      enforce the plaintiffs rights under first use and trademark and copyright laws. Only the
17
       Federal Court can address interstate commerce issues that are present in the case at
18     bar.
19
20
        13. THE PLAINTIFF TRADEMARK OWNER IS ABLE BY AND
21

22
       THROUGH THE PROCESS OF DISCOVERY TO PROVE UP
23     THE TRADEMARK INFRINGEMENT. The discovery process will open the
24     legal door for access to available legal remedies may include the following:
25

26     14. A FEDERAL COURT ORDER (INJUNCTION) ORDERING
21     THE DEFENDANTS STOP USING THE ACCUSED MARK OF A
2s     HAND GRENADE AIR FRESHENER AND CALIFORNIA
29     SCENTS AIR FRAGRANCING PRODUCTS;
30     THE PLAINTIFF REQUEST:


                                                     9
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      a. An Order Requiring the Destruction.
      b. Or Forfeiture of Infringing Articles;
 2
      c. Monetary Relief,
 3
      d. Including Defendant's Profits Sales which remains undefined,
 4    e. Any Damages Sustained by The Plaintiff,
 5    f. The Costs of The Action;
 6    g. Also, An Order That the Defendant Pay The Plaintiffs' Attorneys' Fees.
 7
     15. CONVERSELY, THE FEDERAL COURT MAY FIND
 8
         INSTEAD THAT
 9    a. the Defendants are not infringing the trademark, (Which is highly unlikely)
10    b. There is no present defense which bars the plaintiff's claim(s), none have been
11        brought forward by the defendants to date. The defendants only complaints
12        about the Federal Procedure of bringing an action. The Defendant's refuse to
13        address any substantive issues or claims while avoiding the facts as if they were
14        a legal disease.
15    c. Or other reasons exist why the trademark owner is not entitled to prevail.
16
17   16. HOW DOES THE PLAINTIFF PROVE UP THE
18   INFRINGEMENT?
          To Support A Trademark Infringement, Claim In Court, The Plaintiff Must Prove:
19
      a. Establish the Plaintiff owns the valid mark, this is a fact before this court
20
          which can't be denied by the defendants and is a part of the court record.
21
      b. The Plaintiff It Has Priority. Plaintiff has first rights use of the Trademark
22
      c. The Plaintiffs Rights In The Mark(S) Are "Senior" To The Defendant',
23
          This is also a fact that is a part of the court record and claims of the Plaintiff.
24
      d. The Defendant's Mark Is Likely To Cause Confusion In The Minds Of
25

26
          Consumers. This is undeniable because the defendants sold nationally

27
          infringed Hand Grenade Air Freshener and the use of their California Scents air

28       fragrancing product. This is a fact that confirm the old legal wisdom; if it walks
          like a duck, quacks like a duck it's a duck. The same applies to the infringement
29
          of the Hand Grenade Air Freshener and California Scents air fragrancing
30
          Trademark that the Plaintiff holds all rights and privileges to.



                                                  10
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      e. The Defendant's Unauthorized Use of The MARK Is The Source Of

 2       Confusion And Unfair Illegal Use Of The Trademark Design Of The
 3       Plaintiff. The court need only look at the two air fresheners side by side and the
 4       infringement is as plain as the nose on one face. The Defendants sponsorship of
 5       the goods or services offered under the parties' marks was a known violation of
 6       Trademark and Copyright law. Once again, an obvious fact that can't be rightfully
 7       denied by the defendants.

 8
 9
     17. WHEN A PLAINTIFF OWNS A FEDERAL TRADEMARK
10
     REGISTRATION AND IS THE PRINCIPAL REGISTER:
      a. There Is A Legal Presumption Of The Validity And Ownership Of The
11
        Mark, which belongs to the Plaintiff. This is also a real fact that can't be
12
        reasonably denied by the defendants
13
      a. Plaintiff Has the Exclusive Right To Use The Mark Nationwide. This is
14
        but another legal right the plaintiff has and holds which was denied to him by the
15
        illegal infringement of his Trademark, Copyright by the nationwide sales by the
16
         defendants. This is one more fact that cannot be reasonably disputed.
17
      b. On, Or In Connection With The Goods Or Services Hand Grenade Air
18
         Freshner And California Scents Air Fragrancing Products: listed the
19
         registration with the Trademark is under the exclusive ownership, dominion and
20
        control of the Plaintiff.
21
      c. These Presumptions May Be Rebutted In The Court Proceedings but in
22
         the case at bar this has not happened. All the opposition wants to talk about the
23
         rules of court not the legal elements of the Plaintiffs claim which are plain and
24
         straight forward. The claims are based upon simple concepts and elements of the
25
         law. No fancy legal footwork or legal brilliance required. The court only has to be
26
         satisfied with these few simple elements. These have been satisfied by the
27
         plaintiff. There is no great legal mystery to it because it is simple and proven by
28
         the facts in the courts possession.
29
30




                                                11
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        18. THE FEDERAL COURT IS ASKED BY THE PLAINTIFF: to
 2      consider evidence in addressing various factors legally required to determine:
 3        a. Whether There Is A Likelihood Of Confusion Among Consumers.
 4         The key factors considered in the case at bar are of .tL.Ui'-lll!.!IQL!.l~li'l-ll"""~.i.w:..~~Olr:.l.ll
 5        the marks at issue. Once again, the court need only look at all the Exhibits
 6        previously submitted to court. They tell the entire story. This is a case of blatant
 7        taking and using the Trademark of the Plaintiff with no regard for his rights and title
 8        to the Trademark.
 9        b. Whether The Parties• Goods and /Or Services Are Sufficiently
10        Related. (are marketed in the same channels same outlets and have the same
11        Trademark designation. This creates infringement)
12        c. The Air Freshener Consumers Are Likely To Assume (Mistakenly}
13
          That The Hand Grenade Air Freshner and California Scents Air
14
          Fragrancing Products:
15
           come from a common source of the defendants. This is because the defendants
16
          used and abuse of the Plaintiffs Trademark on a grand scale nationwide. This was
17
          done at the expense of the plaintiff. Example Plaintiff attempted to sell his Hand
18
          Grenade Air Freshner product to Walmart. He was denied access to the national
19
          market because the defendants were selling knock off copies of his Hand Grenade
20
          Air Freshner product designs without authorization to Walmart and to other chains
21
          concerns such as nationwide auto parts stores and even chain super markets like
22
          Kroger's. How much did this cost the Plaintiff? How badly was the plaintiffs market
23
          and product dilution damaged? This can only be determined by discovery. This
24        makes this matter ripe for a trial, or a summary judgment.
25
26
        19. OTHER FACTORS THAT THE PLAINTIFF IS ASKING THE
27
        FEDERAL COURTS TO CONSIDER INCLUDES IN HIS
28
        PLEADING: All of the following are issues that must be addressed at trail or summary
29      judgment.
30




                                                          12
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             d)   The Quality Of The Evidence Involved In The Infringement Lawsuit

 2                Remains Locked Away In The Defendants Flies and can only be brought

 3
                  into to evidence by and through the process of discovery.

 4
             e)   The Defendants In The Case At Bar Are Expending Great Legal Effort To

 5
                  Beat The Plaintiff Up On Legal Procedure. This is the legal means which
                  are currently avoiding the defendants answering infringement legal elements.
 6
                  The Defendant's also avoids the possibility of speaking to or entertaining or
 7
                  mentioning or addressing the simple straight forward claims and issues of
 8
                  what infringement as it is defined in the foregoing text.
 9

10
11
       21. THE PLAINTIFF IN ADDITION TO CLAIMING LIKELIHOOD
12     OF CONFUSION,
13     is supported by the proven fact the plaintiff is the trademark owner. As the rightful
14     Trademark owner, the Plaintiff has every legal right to claim trademark "dilution". The
15     Plaintiff does rightfully and legally assert that he owns a famous mark a grenade air
16     freshener is truly unique. Any use of the Plaintiffs mark by the Defendants cannot not
17     reasonably be declared not to diminishes the strength or value of the plaintiff trademark
18     owner's mark rights and income of that infringement.
19

20     22. THE DEFENDANT HAS MADE A RIGHTFUL LEGAL CLAIM
21     BEFORE THIS COURT THAT ANY USE OR ABUSE AND
22     SALES BY DEFENDANTS
       : can't help avoid the "blurring" the mark's distinctiveness with an air freshener with the
23
       Trademark design of a hand grenade. The Defendants have with purposeful intent
24     caused "tarnishing" the hand grenade mark's image by connecting it to something
25     distasteful or objectionable-even if there is no likelihood of confusion.
        d. Legal Sources 15 U.S.C. §§1114, 1116-1118 Black's Law Dictionary (9th ed. 2009)
26
          McCarthy on Trademarks & Unfair Competition (4th ed. 2014)
27
28
29
30




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